          Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 1 of 16




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 WALTER L. GOODWIN,

                         Plaintiff,                  Civ No. 14-01724 (KBJ)

 v.


 FEDERAL BUREAU OF PRISONS,

                         Defendant.

                       DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant, the Federal Bureau of

Prisons (BOP), through counsel, respectfully moves this Court to grant summary judgment on behalf of the

Defendant. In support of this motion, the Defendant refers to the declarations of Beth Ochoa and Tony

Martinez of the BOP.



November 26, 2014                               Respectfully submitted,


                                                RONALD C. MACHEN JR., D.C. Bar #447889
                                                United States Attorney

                                                DANIEL F. VAN HORN, D.C. Bar # 924092
                                                Chief, Civil Division

                                                 _____/s/________________________________
                                                ANDREA McBARNETTE, D.C. Bar # 483789
                                                Assistant United States Attorney
                                                555 Fourth Street, N.W.
                                                Washington, D.C. 20530
                                                (202) 252-2539
                                                Andrea.McBarnette@usdoj.gov
          Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 2 of 16




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WALTER L. GOODWIN,

                        Plaintiff,                 Civ No. 14-01724 (KBJ)

 v.


 FEDERAL BUREAU OF PRISONS,

                        Defendant.

           STATEMENT OF MATERIAL FACTS NOT IN GENUINE DISPUTE

       Pursuant to LCvR 7 (h), Defendant, the Federal Bureau of Prisons (Bureau), through

counsel, respectfully submits this statement of material facts as to which there is no genuine

dispute. The Defendant has attached the declarations of Beth Ochoa and Tony Martinez of the

BOP.

1.     The BOP received a request for information under the Freedom of Information Act from

Walter L. Goodwin, federal register number 32453-160, by letter dated February 9, 2014.

Declaration of Beth Ochoa, Government Information Specialist (hereafter Ochoa Decl.) at ¶ 4 &

Exhibit 1; Complaint, Doc. 1 at 3 (claiming FOIA request filed on February 5, 2014).

2.     BOP assigned tracking number of 2014-04855 to the FOIA request which sought

disclosure of a “copy of the video/camera footage of the October 25, 2013 incident that occurred

at Tucson Federal USP psychology department . . ..” Ochoa Decl. at Exh. 1.

3.     In response to FOIA Request 2014-04855, Beth Ochoa, a Government Information

Specialist identified the institution that would maintain the relevant records as the United States

Penitentiary in Tucson, Arizona. She sent the USO Tuscon Warden’s Secretary a request asking

that a search for the requested record be conducted. Ochoa Decl. at ¶ 5 & Exh. 3.
          Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 3 of 16




4.     An SIS Technician searched Pelco workstations within the SIS office, where such

surveillance video recordings, if maintained, would be stored and located footage of

approximately 8 minutes and 35 seconds duration on the hard drive of Pelco workstation

0615103460, which I deemed responsive to the request. Declaration of Tony Martinez, SIS

Technician (hereafter Martinez Decl.) at ¶¶ 3 - 5. A copy of the responsive item was made and

provided to regional staff for FOIA processing. Martinez Decl. at ¶ 6; Ochoa Decl. at ¶ 5.

5.     The United States Penitentiary in Tucson, Arizona (USP Tuscon) is a high security federal

correctional facility where persons are housed while serving sentences of imprisonment. USP

Tucson’s use of surveillance cameras inside the facility is designed to deter and help prevent and

reduce prohibited and criminal acts, as well as actually assisting in and facilitating the

investigation of activities within the facility. Martinez Decl. at ¶ 3. Access to recorded

surveillance video is limited. Martinez Decl. at ¶ 2. Further, the system used to reproduce the

recorded images does not allow the user to manipulate the images on the video in any way. The

only way to manipulate the image shown in the responsive video recording would be to use some

other type of software. BOP staff do not have access to software at the USP that could be used to

manipulate the video to prevent the image of the physical layout of the facility, nor conceal the

identities of the persons captured on the surveillance video. Martinez Decl. at ¶ 7; Ochoa Decl. at

¶ 6.

6.     After examination of the video footage referenced in paragraph 3, the BOP responded to

Mr. Goodwin by letter dated March 21, 2014, explaining the video footage was located but was

withheld from disclosure under 5 U.S.C. § 552(b) (7) (C) and 5 U.S.C. § 552(b) (7) (F). Doc. 1

at 3 & Exh. A-2; Ochoa Decl. at ¶ 7 & Exh. 5.


                                                  2
         Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 4 of 16




7.     Mr. Goodwin appealed the lack of disclosure to the Office of Information Policy (OIP),

which assigned tracking number AP-2014-02976 to the appeal. Doc. 1 at 7. OIP conducted an

independent review of the item sought the bases asserted for withholding and upheld the agency

determination. Doc. 1 at 7 & Exh. A-3.



November 26, 2014                           Respectfully submitted,


                                            RONALD C. MACHEN JR., D.C. Bar #447889
                                            United States Attorney

                                            DANIEL F. VAN HORN, D.C. Bar # 924092
                                            Chief, Civil Division

                                             _____/s/________________________________
                                            ANDREA McBARNETTE, D.C. Bar # 483789
                                            Assistant United States Attorney
                                            555 Fourth Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-2539
                                            Andrea.McBarnette@usdoj.gov




                                               3
          Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 5 of 16




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WALTER L. GOODWIN,                               CIV No. 14-01724

                        Plaintiff,
                                                  MEMORANDUM OF LAW IN SUPPORT
 v.                                               OF MOTION FOR SUMMARY
                                                  JUDGMENT

 FEDERAL BUREAU OF PRISONS,

                        Defendant.

      MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant, the Federal

Bureau of Prisons (BOP), through counsel, respectfully moves this Court to grant summary

judgment on behalf of the Defendant in this Freedom of Information Act (FOIA) case, Title 5

U.S.C. § 552, et seq. In support of this motion, the Defendant refers to the Declaration of Beth

Ochoa, Government Information Specialist (hereafter Ochoa Decl.) and Declaration of Tony

Martinez, SIS Technician (hereafter Martinez Decl.).

       In response to a FOIA request seeking production of surveillance video footage taken

inside the psychology department at a United States Penitentiary, the BOP properly withheld the

surveillance video footage pursuant to Exemption 7 of the FOIA.

                                        BACKGROUND

       The Federal Bureau of Prisons (BOP) received a request for information under the

Freedom of Information Act from Walter L. Goodwin, federal register number 32453-160, by

letter dated February 9, 2014. Declaration of Beth Ochoa, Government Information Specialist

(hereafter Ochoa Decl.) at ¶ 4 & Exhibit 1; Complaint, Doc. 1 at 3 (claiming FOIA request filed

on February 5, 2014). Upon receipt, BOP assigned tracking number of 2014-04855 to the FOIA
          Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 6 of 16




request which sought disclosure of a “copy of the video/camera footage of the October 25, 2013

incident that occurred at Tucson Federal USP psychology department . . ..” Ochoa Decl. at Exh.

1. BOP generated and mailed a letter to Mr. Goodwin explaining that his request had been

received, advising him of the tracking number which had been assigned, and explaining his

request would be handled in the order in which it was received. Ochoa Decl. at Exh. 2.

       In response to FOIA Request 2014-04855, Beth Ochoa, a Government Information

Specialist initiated the agencies search by identifying the institution that would maintain the

relevant records as the United States Penitentiary in Tucson, Arizona. Ochoa Decl. at ¶ 5. The

United States Penitentiary in Tucson, Arizona (USP Tuscon) is a high security federal

correctional facility where persons are housed while serving sentences of imprisonment. USP

Tuscon’s use of surveillance cameras inside the facility is designed to deter and help prevent and

reduce prohibited and criminal acts, as well as actually assisting in and facilitating the

investigation of activities within the facility. Martinez Decl. at ¶ 3. Ms. Ochoa sent the

institution a request asking that a search for the requested record be conducted. Ochoa Decl. at ¶

5 & Exh. 3. An SIS Technician was assigned to conduct the relevant search. Declaration of Tony

Martinez, SIS Technician (hereafter Martinez Decl.) at ¶¶ 3 - 5. He searched Pelco workstations

within the SIS office, where such surveillance video recordings, if maintained, would be stored

and located footage of approximately 8 minutes and 35 seconds duration on the hard drive of

Pelco workstation 0615103460, which he deemed responsive to the request and which were

provided to Ms. Ochoa for FOIA processing. Martinez Decl. at ¶¶ 3 – 5; Ochoa Decl. at ¶ 5. A

copy of the responsive item was made and provided to regional staff for FOIA processing.

Martinez Decl. at ¶ 6; Ochoa Decl. at ¶ 5.


                                                  2
          Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 7 of 16




       After examination of the video footage referenced in paragraph 3, the BOP responded to

Mr. Goodwin by letter dated March 21, 2014. Doc. 1 at 3 & Exh. A-2; Ochoa Decl. at ¶ 7 &

Exh. 6. The letter informed Mr. Goodwin that a responsive recording was located and that the

recording in its entirety was preserved on a compact disc which was being withheld from

disclosure in its entirety pursuant to the FOIA, 5 U.S.C. §552, (b)(7)(C) records which would

disclose techniques and procedures for law enforcement investigations, and (b)(7)(F) disclosure

which could endanger the life or physical safety of any individual.

        Mr. Goodwin appealed the lack of disclosure to the Office of Information Policy (OIP),

which assigned tracking number AP-2014-02976 to the appeal. Doc. 1 at 7. OIP conducted an

independent review of the item sought the bases asserted for withholding and upheld the agency

determination. Doc. 1 at 7 & Exh. A-3.

                                    STANDARD OF REVIEW

        Summary judgment may be granted if the pleadings and evidence “show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as a

matter of law.” Fed. R. Civ. P. 56(c). In Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986), the

Supreme Court further instructed that the “[s]ummary judgment procedure is properly regarded

not as a disfavored procedural shortcut, but rather as an integral part of the Federal Rules as a

whole, which are designed ‘to secure the just, speedy and inexpensive determination of every

action.’” Factual assertions in the moving party's affidavits may be accepted as true unless the

opposing party submits his own affidavits, declarations, or documentary evidence to the contrary.

Neal v. Kelly, 963 F.2d 453, 456-57 (D.C. Cir.1992).




                                                  3
         Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 8 of 16




       “FOIA cases typically and appropriately are decided on motions for summary judgment.”

Gold Anti-Trust Action Committee, Inc. v. Board of Governors of Federal Reserve System, No.

09-2436, 2011 WL 332541, *3 (D.D.C. Feb. 3, 2011) (quoting Defenders of Wildlife v. U.S.

Border Patrol, 623 F. Supp. 2d 83, 87 (D.D.C. 2009) (citations omitted)); Schmidt v. Shah, No.

08-2185, 2010 WL 1137501, *8 (D.D.C. Mar 18, 2010) (“FOIA cases are typically and

appropriately decided on motions for summary judgment) (citation omitted). In a FOIA suit, an

agency is entitled to summary judgment once it bears its burden of demonstrating that no

material facts are in dispute and that all information that falls within the class requested either

has been produced, is unidentifiable, or is exempt from disclosure. Students Against Genocide v.

Dep’t of State, 257 F.3d 828, 833 (D.C. Cir. 2001); Weisberg v. Department of Justice, 627 F.2d

365, 368 (D.C. Cir. 1980).

       A court may award summary judgment to a FOIA defendant solely on the basis of

information provided by the department or agency in sworn statements with reasonably specific

detail that justify the nondisclosures, demonstrate that the information withheld logically falls

within the claimed exemption, and are not controverted by either contrary evidence in the record

nor by evidence of agency bad faith. Military Audit Project v. Casey, 656 F.2d 724, 738 (D.C.

Cir. 1981). To successfully challenge such a showing by the defendant agency, the plaintiff must

do more than merely establish some “metaphysical doubt;” rather, the plaintiff must come

forward with “specific facts” demonstrating a genuine issue. Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, (1986).




                                                  4
         Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 9 of 16




                                          ARGUMENT

I.     Defendant conducted an adequate search

       To prevail in a FOIA action, the agency must show that it made “a good-faith effort to

conduct a search for the requested records, using methods which can be reasonably expected to

produce the information requested.” Nation Magazine v. U.S. Customs Serv., 71 F.3d 885, 890

(D.C. Cir. 1995) (quoting Oglesby v. U.S. Dep’t of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990));

see, e.g., Morley, 508 F.3d at 1114 (“[t]he court applies a ‘reasonableness’ test to determine the

‘adequacy’ of a search methodology, consistent with congressional intent tilting the scale in

favor of disclosure.” (quoting Campbell v. DOJ, 164 F.3d 20, 27 (D.C. Cir. 1998))). Courts have

found that agency declarations to be inadequate when they do not contain sufficiently detailed

descriptions of the search. Morley v. CIA, 508 F.3d 1108, 1121-22 (D.C. Cir. 2007) (remanding

case because declaration did not sufficiently describe scope and method or search conducted).

       The BOP searched the Pelco workstations that could contain video surveillance filmed at

the United States Penitentiary on the date in question. Martinez Decl. ¶ 4: Ochoa Decl. at ¶ 5.

Because the surveillance recordings are maintained and are accessible only through the Pelco

workstations at the United States Penitentiary where the recording was alleged to have been

made, the BOP’s manual search for the responsive video footage in this location and in this

manner was reasonable. Martinez Decl. ¶ 4; Ochoa Decl. at Exh. 4 (FOIA Request Worksheet).

Therefore, the BOP conducted an adequate search for responsive records.

II.    The Video Footage at Issue Here was Properly Withheld Pursuant to Exemption 7

       The FOIA requires a federal agency to release all records responsive to a properly

submitted request except those protected from disclosure by one or more of nine enumerated

exemptions. See 5 U.S.C. § 552(b). The agency's disclosure obligations are triggered by its



                                                 5
         Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 10 of 16




receipt of a request that “reasonably describes [the requested] records” and “is made in

accordance with published rules stating the time, place, fees (if any), and procedures to be

followed.” 5 U.S.C. § 552(a)(3)(A). The FOIA authorizes the court only “to enjoin [a federal]

agency from withholding agency records or to order the production of any agency records

improperly withheld from the complainant.” 5 U.S.C. § 552(a)(4)(B). Pursuant to the FOIA, the

disclosure provisions specifically do not apply to:

       (7) records or information compiled for law enforcement purposes, but only to the extent
       that the production of such law enforcement records or information . . . (C) could
       reasonably be expected to constitute an unwarranted invasion of personal privacy, . . .
       (F) could reasonably be expected to endanger the life or physical safety of any individual;
       . . ..

5 U.S.C. § 552(b)(7).

       The elements of a FOIA claim are: (1) improperly (2) withheld (3) agency records.

“Judicial authority to devise remedies and enjoin agencies can only be invoked under the

jurisdictional grant conferred by § 552, if the agency has contravened all three components of

this obligation.” Kissinger v. Reporters Comm. for Freedom of the Press, 445 U.S. 136, 150, 100

S.Ct. 960, 63 L.Ed.2d 267 (1980).

       A.      Surveillance Video Is Compiled For Law Enforcement Purposes

       Plaintiff asserts the surveillance video he seeks is not compiled for law enforcement

purposes. Doc. 1 at 5 (asserting “the use of force incident . . . did not involve . . . any law

enforcement agency domestic or foreign state or federal.”). This bald assertion is simply not

supportable. The Federal Bureau of Prisons (BOP) is charged with providing for the

safekeeping, as well as the protection, instruction, and discipline of all persons charged with or

convicted of offenses against the United States. !8 U.S.C. § 4042.




                                                  6
         Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 11 of 16




        Through declarations, the Defendant has demonstrated the item at issue in the FOIA

request challenge here is surveillance footage recorded by the BOP at the high security United

States Penitentiary (USP) in Tucson, Arizona. Martinez Decl. at ¶ 3. Closed circuit television is

used by staff for live monitoring of inmate activities and the recorded video is used as a tool in

investigations. Id. Surveillance cameras are specifically used inside the facility “to deter and

help prevent and reduce prohibited and criminal acts, as well as actually assisting in and

facilitating the investigation of activities within the facility.” Martinez Decl. at ¶ 3. Moreover,

BOP’s Correctional Services Division identifies closed circuit video cameras as components of

the physical security systems employed in correctional facilities along with such things as fences,

locks, and alarms. Ochoa Decl. at ¶ 6 & Exh. 5; see, also, 5 U.S.C. § 8331 (defining “law

enforcement officer” to include persons whose duties involve of detention of individuals and

specifically states “detention” includes the duties of-- (A) employees of the Bureau of Prisons

and Federal Prison Industries, Incorporated; whose duties . . .require frequent . . . direct contact

with these individuals in their detention, direction, supervision, inspection, training, employment,

care, transportation, or rehabilitation;. . ..”).

        Despite Plaintiff’s bald assertion to the contrary, it is clear that the surveillance footage

captured by the closed circuit television cameras and recorded is “compiled” for law

enforcement purposes. On this record it is clear that the BOP’s supervision of inmates, which

includes video surveillance, is for the purpose of detecting and deterring criminal conduct and

the recording and continued maintenance of the surveilled activities is designed to facilitate

investigation and possible prosecution of wrongdoers. As such, there is clearly a “rational

nexus” between the BOP’s law enforcement duties and the surveillance video at issue here.

Pratt v. Webster, 673 F.2d 408, 420-21 (D.C.Cir.1982). Exemption 7 clearly applies to the



                                                    7
         Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 12 of 16




prison surveillance video located here provided one of the conditions exempting such records

from disclosure applies.

       B.      5 U.S.C. § 552(b) (7) (C) – Personal Privacy

       Exemption 7(C) exempts “records or information compiled for law enforcement

purposes, but only to the extent that such [material] ... could reasonably be expected to constitute

an unwarranted invasion of personal privacy,....” 5 U.S.C. § 552(b)(7)(C). “Where the privacy

concerns addressed by Exemption 7(C) are present, ... [the requester] must show that the public

interest sought to be advanced is a significant one, an interest more specific than having the

information for its own sake [and that] ... the information is likely to advance that interest.” Nat'l

Archives and Records Admin. v. Favish, 541 U.S. 157, 172 (2004). In making such a showing, a

plaintiff must assert “more than a bare suspicion” of official misconduct. Id. at 174, 124 S.Ct.

1570. He “must produce evidence that would warrant a belief by a reasonable person that the

alleged Government impropriety might have occurred.” Id. Otherwise, the balancing requirement

does not come into play. See id. at 175, 124 S.Ct. 1570.

       Here, Plaintiff asserts that the video footage “is necessary to demonstrate the petitioners

need for chronic medical care caused by the malicious act of federal employees, in the present

moment the Plaintiff has been denied necessary medical treatment.” Doc. 1 at 7-8. He further

alleges he has a private cause of action in which he seeks to vindicate alleged violations of his

constitutional rights arising from the incident depicted on the video. Doc. 6 at 3 – 4. At best,

Plaintiff asserts a personal interest in disclosure of the record, which cannot offset the privacy

concerns of the others portrayed on the video. As such, the surveillance video recording is

properly withheld from disclosure under 5 U.S.C. § 552(b) (7) (C).




                                                  8
        Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 13 of 16




       C.      5 U.S.C. § 552(b) (7) (F)

       The BOP also asserted the surveillance video footage was being withheld as it “(F) could

reasonably be expected to endanger the life or physical safety of any individual; . . ..” Title 5

U.S.C. § 552(b)(7). As indicated above, USP Tucson is a high-security United States

Penitentiary where persons are designated to serve their terms of imprisonment. Martinez Decl.

at ¶ 3. In support of the BOP’s position, Ms. Ochoa has declared that:

       Public review of the video would allow scrutiny of the quality and gaps in video coverage
       of the video surveillance capabilities in this area of the United States Penitentiary, and
       could be used to discern the internal physical layout of this area in the United States
       Penitentiary as well as estimate staff response times to request for assistance. This
       information could be used to better anticipate staff’s efforts to prevent, respond to and if
       needed prosecute individuals for actions taken by them in future situations, and
       potentially prolonging or thwarting staff’s efforts to maintain a safe and secure
       environment. The release of this video may also endanger the staff members who
       participated in the response to the call for assistance, subjecting them to possible
       retribution in the future, especially because their identities have not been revealed, but
       each is clearly identifiable by their faces which are clearly visible in the recording.
       Although the identity of staff members responding to calls for assistance are not regularly
       revealed to inmates or the public, to the extent their identities are known and maintained
       by the BOP, that information is maintained to allow for internal review of any immediate
       use of force and allows for any necessary administrative action to be taken.

Ochoa Decl. at ¶ 6.

Furthermore, Ms. Ochoa provided an excerpt of a Correctional Services Cross Development

course material which identified “closed circuit video cameras as components of the physical

security systems employed in correctional facilities along with such things as fences, locks, and

alarms.” Ochoa Decl. at ¶ 6 & Exh. 5.

       As such, the BOP has demonstrated that the release of this surveillance video footage

could reasonably be expected to compromise and endanger the lives or physical safety of the

individuals assigned to work that USP Tucson as well as those specific individuals captured in




                                                  9
        Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 14 of 16




this video footage. BOP properly determined this video is appropriate withheld from disclosure

under 5 U.S.C. § 552(b) (7) (F).


IV.    Segregability

       The FOIA requires that, if a record contains information that is exempt from disclosure,

any “reasonably segregable” information must be disclosed after deletion of the exempt

information unless the non-exempt portions are “inextricably intertwined with exempt portions.”

5 U.S.C. § 552(b); Trans-Pacific Policing Agreement v. U.S. Customs Serv., 177 F.3d 1022

(D.C. Cir. 1999). “Agencies are entitled to a presumption that they complied with the obligation

to disclose reasonably segregable material.” Sussman v. U.S. Marshals Serv., 494 F.3d 1106,

1117 (D.C.Cir.2007) (citations omitted). The Court may award summary judgment to an agency

solely on the information provided in affidavits or declarations when they describe “the

justifications for nondisclosure with reasonably specific detail, demonstrate that the information

withheld logically falls within the claimed exemption, and are not controverted by either contrary

evidence in the record nor by evidence of agency bad faith.” Larson v. Dep't of State, 565 F.3d

857, 862 (D.C.Cir.2009) (quoting Miller v. Casey, 730 F.2d 773, 776 (D.C.Cir.1984)); accord

Military Audit Project v. Casey, 656 F.2d 724, 738 (D.C.Cir.1981); see Vaughn v. Rosen, 484

F.2d 820, 826–28 (D.C.Cir.1973), cert. denied, 415 U.S. 977, 94 S.Ct. 1564, 39 L.Ed.2d 873

(1974). An agency's declarations are “accorded a presumption of good faith, which cannot be

rebutted by purely speculative claims....” SafeCard Servs., Inc. v. Sec. & Exch. Comm'n, 926

F.2d 1197, 1200 (D.C.Cir.1991) (citation and internal quotation marks omitted); see Matter of

Wade, 969 F.2d 241, 246 (7th Cir.1992) (“Without evidence of bad faith, the veracity of the

government's submissions regarding reasons for withholding the documents should not be

questioned.”) (citation omitted). If the Plaintiff rebuts the foregoing presumptions with probative

                                                10
          Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 15 of 16




evidence, summary judgment is not warranted. See Sussman, 494 F.3d at 1117 (“the burden lies

with the government to demonstrate that no segregable, nonexempt portions were withheld.”).

         BOP properly withheld the video disks containing the images of individual employees in

their entirety under FOIA exemption 7(C). See Antonelli v. Fed. Bureau of Prisons, 591

F.Supp.2d 15, 27 (D.D.C.2008) (approving BOP's withholding of recorded telephone

conversations based on evidence that BOP lacked the technical capability to reasonably

segregate the recordings) (citing Swope, 439 F.Supp.2d at 5–8; McMillian v. Fed. Bureau of

Prisons, 2004 WL 4953170, at *7–8 (D.D.C. July 23, 2004)). Cf. with Maxwell v. O'Neill, 2002

WL 31367754 (D.D.C., Sept. 12, 2002) (“While responding to FOIA requests, an agency is not

required to ... create individualized records....”); Hudgins v. IRS, 620 F. Supp. 19, 21

(D.D.C.1985) (“FOIA creates only a right of access to records, not a right to personal services.”);

see also, 5 U.S.C. § 552(a)(4)(B) (“a court shall accord substantial weight to an affidavit of an

agency concerning the agency's determination as to technical feasibility under ... subsection

(b)”).

         In order to demonstrate that all reasonably segregable material has been released, the

agency must provide a detailed justification rather than conclusory statements. See Barnard v.

DHS, 598 F. Supp.2d 1, 25 (D.D.C. 2009) (stating that “[a]lthough an agency’s justification need

not compromise the nature of the withheld information, its explanation should at least detail what

proportion of the information in a document is non-exempt and how that material is dispersed

though out the document”); Taylor v. U.S. Dep’t of Justice, 257 F. Supp. 2d 101, 114 (D.D.C

2003) (finding in camera review to be unnecessary because of adequacy of defendant’s affidavit

and Vaughn Index).




                                                 11
        Case 1:14-cv-01724-KBJ Document 10 Filed 11/26/14 Page 16 of 16




       Here, the BOP through affidavit explains that the record maintenance system for the

surveillance video does not afford the user the ability to modify, redact, or in any way alter what

was recorded. Martinez Decl. at ¶ 7. Therefore, the BOP’s determination that it was not

technically feasible for the agency to segregate the physical layout of the correctional facility

depicted in the video or the identities of staff captured by the video was proper.



November 26, 2014                             Respectfully submitted,


                                              RONALD C. MACHEN JR., D.C. Bar #447889
                                              United States Attorney

                                              DANIEL F. VAN HORN, D.C. Bar # 924092
                                              Chief, Civil Division

                                               _____/s/________________________________
                                              ANDREA McBARNETTE, D.C. Bar # 483789
                                              Assistant United States Attorney
                                              555 Fourth Street, N.W.
                                              Washington, D.C. 20530
                                              (202) 252-2539
                                              Andrea.McBarnette@usdoj.gov




                                                 12
